  Case: 1:17-md-02804-DAP Doc #: 767 Filed: 07/19/18 1 of 4. PageID #: 18132




                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

       IN RE: NATIONAL PRESCRIPTION                  )      MDL No. 2804
       OPIATE LITIGATION                             )
                                                     )      Case No. 17-md-2804
                                                     )
       This document applies to All Cases.           )      Judge Dan Aaron Polster
                                                     )


                             NOTICE OF ARCOS DISCLOSURE

       COME NOW, the Plaintiffs, by and through Co-Leads and the Plaintiffs’ Executive

Committee, and pursuant to the Protective Order Re: DEA’s ARCOS/DADS Database (Doc.

#167) and the Order Regarding Plaintiffs’ Motion for Modification of CMO-1 (Doc. #739) give

notice of the intention to share with all MDL Plaintiffs’ counsel a website link

(www.slcg.com/data-analytics/opioid-analytics) that contains reports derived from the ARCOS

data that list, for every county, all manufacturers, distributors, and pharmacies that contributed

directly to the presence of opioids in that county. The reports listed on the website are more

fully described below:


Distributor list:
This list includes name and address for all ARCOS registrants and reportersi that distributedii any
of the 8 Opioid drug families within the county according to 2006-2014 DEA's ARCOS data.
The 8 drug families include Buprenorphine, Fentanyl, Hydrocodone, Hydromorphone,
Morphine, Oxycodone, Oxymorphone, and Tapentadol.

Pharmacy list:
The list includes name and address for all DEA registrants identified as a Chain Pharmacy or
Retail Pharmacy located within the county that purchased any of the 8 Opioid drug families from
a distributoriii according to 2006-2014 DEA's ARCOS data. The 8 drug families include
Buprenorphine, Fentanyl, Hydrocodone, Hydromorphone, Morphine, Oxycodone,
Oxymorphone, and Tapentadol.
    Case: 1:17-md-02804-DAP Doc #: 767 Filed: 07/19/18 2 of 4. PageID #: 18133




Manufacturer List:
This list includes names of all identified labelersiv, based on the Food and Drug Administration's
National Drug Code (NDC), of any of the 8 Opioid drug families that were distributed v within
the county according to 2006-2014 DEA's ARCOS data. The 8 drug families include
Buprenorphine, Fentanyl, Hydrocodone, Hydromorphone, Morphine, Oxycodone,
Oxymorphone, and Tapentadol.


                                                      Respectfully submitted,


                                                      /s/ Peter J. Mougey
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                                                      Plaintiffs Executive Committee
                                                      Member


i
   DEA issues a separate registration to manufacturers and distributors of controlled substances for each location in
which controlled substance activity occurs. Therefore, manufacturers and distributors may hold multiple
registrations simultaneously. Each individual registration is identified by a unique registration number. An ARCOS
registrant is a manufacturer or distributor required to report controlled substance inventories and transactions to
DEA (ARCOS). An ARCOS reporter is an entity that files controlled substance transaction and inventory reports
with DEA (ARCOS). An ARCOS registrant reporting only its own controlled substance transactions and
inventories to DEA (ARCOS) is a single reporter. A registered central reporter has a DEA registration as a
manufacturer or distributor and reports controlled substance transactions and inventories for itself and other
ARCOS registrants within its corporate structure. ARCOS Registrant Handbook at 1-5; 2-2 – 2-3 available at
https://www.deadiversion.usdoj.gov/arcos/handbook/full.pdf#search=arcos%20handbook. The ARCOS Reporters
with a listed business activity of “Distributor” was used to create this list.
ii
    The distributor list includes any ARCOS Reporter with a “Reporter Business Activity” of “Distributor” who
reported a Transaction code S (Sale, Disposition, or Transfer). Transaction code S is used when a controlled
substance is physically transferred to another DEA registrant. ARCOS Registrant Handbook at 5-14. This list
includes only Transaction code S sale transactions to buyers with any of the following buyer business activity
designations: PRACTITIONER; RETAIL PHARMACY; PRACTITIONER-DW/100; CHAIN PHARMACY;
HOSPITAL/CLINIC; HOSP/CLINIC-VA; CENTRAL FILL PHARMACY; HOSP/CLINIC- MIL; HOSP/CLINIC
FED; MLP-AMBULANCE SERVICE; PRACTITIONER-DW/275; MLP-NURSE PRACTITIONER; MLP-
PHYSICIAN ASSISTANT; AUTOMATED DISPENSING SYSTEM; MLP-PHYSICIAN ASSISTANT-DW/30;
PHARMACY- MIL; PRACTITIONER-MILITARY; MLP-OPTOMETRIST; MLP-NATUROPATHIC
PHYSICIAN; MLP-PHYSICIAN ASSISTANT-DW/100; PHARMACY – FED; CHAIN HOSP/CLINIC; MLP-
REGISTERED PHARMACIST; MLP-NURSING HOME; MLP-NURSE PRACTITIONER-DW/100; MLP-DEPT
OF STATE; MLP-MILITARY;
iii
    Distributor here includes any ARCOS reporter with a “Reporter Business Activity” of “Distributor”.
     Case: 1:17-md-02804-DAP Doc #: 767 Filed: 07/19/18 3 of 4. PageID #: 18134




iv
   The labeler information was derived using the National Drug Code Number assigned to the product under the
National Drug Code System of the Food and Drug Administration code for each drug and cross referencing against
the Food and Drug Administration, National Drug Code Directory and list of NDC/NHRIC Labeler Codes. List of
NDC/NHRIC Labeler Codes available at
https://www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/ucm191017.htm.
Food and Drug Administration, National Drug Code Directory available at:
https://www.deadiversion.usdoj.gov/arcos/ndc/ndcfile.txt
https://www.deadiversion.usdoj.gov/arcos/ndc/readme.txt
 Additionally, the ARCOS Registrant Handbook provides the following definitions relating to labeler: A
packer/repacker is a registrant that packs a product into a container (i.e., packer) or repacks a product into different
size containers, such as changing a package of 50 capsules to 5 packages of 10 capsules each. A labeler/relabeler is
a registrant that affixes the original label to a product (i.e., labeler) or changes in any way the labeling on a product
without affecting the product or its container (i.e, relabeler). The “relabel” term implies that the package size
remains unchanged with changes being made only in brand name, NDC number, distributor, etc. ARCOS
Registrant Handbook at 6-2, available at
https://www.deadiversion.usdoj.gov/arcos/handbook/full.pdf#search=arcos%20handbook.
v
  The Manufacturer list includes any labeler identified on any NDC code which was distributed within the county
and reported with a Transaction code S (Sale, Disposition, or Transfer). Transaction code S is used when a
controlled substance is physically transferred to another DEA registrant. ARCOS Registrant Handbook at 5-14.
This list includes only Transaction code S sale transactions to buyers with any of the following buyer business
activity designations: PRACTITIONER; RETAIL PHARMACY; PRACTITIONER-DW/100; CHAIN
PHARMACY; HOSPITAL/CLINIC; HOSP/CLINIC-VA; CENTRAL FILL PHARMACY; HOSP/CLINIC- MIL;
HOSP/CLINIC FED; MLP-AMBULANCE SERVICE; PRACTITIONER-DW/275; MLP-NURSE
PRACTITIONER; MLP-PHYSICIAN ASSISTANT; AUTOMATED DISPENSING SYSTEM; MLP-PHYSICIAN
ASSISTANT-DW/30; PHARMACY- MIL; PRACTITIONER-MILITARY; MLP-OPTOMETRIST; MLP-
NATUROPATHIC PHYSICIAN; MLP-PHYSICIAN ASSISTANT-DW/100; PHARMACY – FED; CHAIN
HOSP/CLINIC; MLP-REGISTERED PHARMACIST; MLP-NURSING HOME; MLP-NURSE PRACTITIONER-
DW/100; MLP-DEPT OF STATE; MLP-MILITARY;
 Case: 1:17-md-02804-DAP Doc #: 767 Filed: 07/19/18 4 of 4. PageID #: 18135




                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 19th day of July 2018, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF System. Copies will be served upon

counsel of record by, and may be obtained through, the Court CM/ECF Systems.



                                          /s/ Peter J. Mougey
                                          Peter J. Mougey, Esq.


                                          Plaintiffs Executive Committee
                                          Member
